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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   (FT LAUDERDALE DIVISION)
                                CASE NO. 0:19-cv-61430-SINGHAL/Valle

   ELIZABETH E. BELIN, et al.,
                  Plaintiffs,
   v.
   HEALTH INSURANCE INNOVATIONS, INC.,
   et al.,
                  Defendants.
                                                        /

        PLAINTIFFS’ MOTION TO COMPEL COMPLIANCE WITH SUBPOENA FOR
                  DEPOSITION DUCES TECUM BY INTERNATIONAL
                        BENEFITS ADMINISTRATORS, LLC

         Pursuant to S.D. Fla. L.R. 7.1, 26.1(g)(2), and Fed. R. Civ. P. 26(b), and 45(d)(2)(B)(i),

  Plaintiffs move to compel non-party, International Benefits Administrators, LLC (“IBA”), to

  appear for deposition duces tecum or produce responsive records along with a certification of

  business records in accordance Fed. R. Evid. 803(6), 902(11).

                                  I.   FACTUAL BACKGROUND

         1.      On March 25, 2020, Plaintiffs served Defendants with their Notice of Intent to

  Serve Subpoena for Deposition Duces Tecum to IBA. A copy of the subpoena is attached as

  Exhibit A.

         2.      On March 26, 2020, IBA was served with the subpoena. A copy of the verified

  Return of Service is attached as Exhibit B.

         3.      Pursuant to Federal Rule of Civil Procedure 45(d)(2)(B), IBA was required to serve

  Plaintiffs with its objections, if any, within 14 days after the subpoena was served, which was April

  9, 2020.
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         4.      Pursuant to the subpoena, IBA’s records custodian was set for deposition on April

  24, 2020.

         5.      IBA failed to respond to the subpoena, and has not contacted Plaintiffs to request

  an extension of time to do so. IBA has thus waived any objections it may have to the subpoena.

  IBA’s records custodian also failed to appear for deposition.

         6.      Based on the foregoing, Plaintiffs respectfully request that the Court enter an order

  compelling IBA’s records custodian to appear for deposition duces tecum, or produce all

  responsive documents along with a certification of business records in accordance Fed. R. Evid.

  803(6), 902(11).

         WHEREFORE, Plaintiffs respectfully request that the Court enter an order:

              a) granting Plaintiffs’ Motion to Compel Compliance with Subpoena for Deposition
                 Duces Tecum by Non-Party International Benefits Administrators, LLC;

              b) awarding Plaintiffs their reasonable attorneys’ fees and costs pursuant to Fed. R.
                 Civ. P. 37(a)(5), for International Benefits Administrators, LLC’s failure to
                 comply with Plaintiffs’ subpoena and necessitating this motion;

              c) requiring International Benefits Administrators, LLC’s records custodian to appear
                 for deposition duces tecum, or produce all responsive documents along with a
                 certification of business records in accordance Fed. R. Evid. 803(6), 902(11)
                 within 20 days of the Court’s Order; and

              d) issuing such other relief the Court deems just and proper.

                              CERTIFICATION OF CONFERRAL

         Pursuant to S.D. Fla. L.R. 7.1(a)(3), Counsel for Plaintiffs have not conferred with Counsel

  for International Benefits Administrators, LLC because it did not respond to Plaintiffs’ subpoena

  duces tecum.

  Dated: May 18, 2020.                                 Respectfully submitted,

  LEVINE KELLOGG LEHMAN                                THE DOSS FIRM, LLC
  SCHNEIDER + GROSSMAN LLP



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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 18, 2020, the foregoing document was electronically

  filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is

  being served this day on all counsel of record in the manner specified, via transmission of Notices

  of Electronic Filing generated by CM/ECF.

                                                              By: /s/ Alexander Strassman
                                                                     Alexander Strassman, Esq.




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